         Case 1:21-cr-00582-CRC Document 14 Filed 10/04/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CRIMINAL NO. 21-cr-582
              v.                             :
                                             :
MICHAEL A. SUSSMANN,                         :
                                             :
                      Defendant.             :
                                             :


                                 NOTICE OF APPEARANCE

       I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for the United States of America.

                                             Respectfully submitted,

                                                    /s/
                                             Jonathan E. Algor
                                             Assistant Special Counsel
                                             U.S. Department of Justice
                                             145 N Street, NE
                                             Room 3E.803
                                             Washington, D.C. 20530
                                             (202) 304-4613
                                             jonathan.algor@usdoj.gov
          Case 1:21-cr-00582-CRC Document 14 Filed 10/04/21 Page 2 of 2




                                   CERTIFICATE OF SERVICE

        I hereby certify that on October 4, 2021, a copy of the foregoing Notice of Appearance was

filed electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by

mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the Court’s CM/ECF System.


                                               /s/
                                        Jonathan E. Algor
                                        Assistant Special Counsel




                                                   2
